
79 So.3d 126 (2012)
Jean-Marie CHARLES, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D11-2819.
District Court of Appeal of Florida, Third District.
January 25, 2012.
Gennaro Cariglio, Jr., Miami, for appellant.
*127 Pamela Jo Bondi, Attorney General, and Timothy R.M. Thomas, Assistant Attorney General, for appellee.
Before SHEPHERD, CORTIÑAS, and LAGOA, JJ.
PER CURIAM.
Affirmed. See Hernandez v. State, 61 So.3d 1144 (Fla. 3d DCA 2011).
